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 1    Todd M. Friedman (216752)
      Adrian R. Bacon (280332)
 2    Thomas E. Wheeler (308789)
 3    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
      21550 Oxnard St. Suite 780,
 4
      Woodland Hills, CA 91367
 5    tfriedman@toddflaw.com
 6
      abacon@toddflaw.com
      twheeler@toddflaw.com
 7    Attorneys for Plaintiff
 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
      EDWARD MAKARON, individually             )   Case No. 2:15-cv-05145-DDP-E
11
      and on behalf of all others similarly    )
12    situated,                                )   PLAINTIFF EDWARD
                                               )   MAKARON’S NOTICE OF
13
      Plaintiff,                               )   MOTION & MOTION FOR FINAL
14                                             )   APPROVAL OF CLASS
15           vs.                               )   SETTLEMENT
                                               )
16                                                 Hon. Dean D. Pregerson
      ENAGIC USA, INC.,                        )
17                                             )   Date: January 13, 2020
      Defendant.                               )   Time: 10:00 am
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                                               )
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               PLAINTIFF’S NOTICE OF MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
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 1          TO THIS HONORABLE COURT AND ALL PARTIES AND THEIR
 2    ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE that on January 13, 2019, at 10:00 a.m., in
 4    Department 9C of the United States District Court for the Central District of
 5    California, located at 350 West First Street, Los Angeles, California 90012,
 6
      plaintiff Edward Makaron (“Plaintiff”), for himself and others similarly situated,
 7
      will move this Court for an order granting final approval of the class action
 8
      settlement as detailed in Plaintiff’s memorandum of points and authorities.
 9
            This Motion is based upon this Notice, the accompanying Memorandum of
10
      Points and Authorities, the declaration and exhibits thereto, the Complaint, all
11
      other pleadings and papers on file in this action, and upon such other evidence and
12
      arguments as may be presented at the hearing on this matter.
13
14
       Dated: November 29, 2019            Respectfully submitted,
15
16                                   By:
                                           /s/ Todd M. Friedman
17
                                           Todd M. Friedman (SBN 216752)
18                                         Adrian R. Bacon (SBN 280332)
19
                                           LAW OFFICES OF TODD M. FRIEDMAN,
                                           P.C.
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21                                         Attorneys for Plaintiff and all other
                                           similarly situated.
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              PLAINTIFF’S NOTICE OF MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
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 1          CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7-3
 2
            Plaintiff’s counsel certifies that prior to filing the instant motion, the parties,
 3
      through counsel, met and conferred pertaining to the subject matter of the instant
 4
      motion. Defendant does not oppose this motion.
 5
 6
 7     Dated: November 29, 2019              Respectfully submitted,
 8                                     By: /s/ Todd M. Friedman
 9
                                             Todd M. Friedman (SBN 216752)
10
                                             Adrian R. Bacon (SBN 280332)
11                                           LAW OFFICES OF TODD M. FRIEDMAN,
12                                           P.C.
13                                           Attorneys for Plaintiff and all others
14                                           similarly situated.
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              PLAINTIFF’S NOTICE OF MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
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 1                             CERTIFICATE OF SERVICE
 2
 3    Filed electronically on this November 29th, 2019, with:

 4    United States District Court CM/ECF system
 5
      Notification sent electronically via the Court’s ECF system to:
 6
 7    Honorable Dean D. Pregerson
 8
      United States District Court
      Central District of California
 9
10    And All Counsel of Record As Recorded On The Electronic Service List.
11
12    This November 29th, 2019
13
      s/Todd M. Friedman, Esq.
14    Todd M. Friedman
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              PLAINTIFF’S NOTICE OF MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
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